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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JUSTIN FAHY,                       )
JENNENE STOICESCU,                 )
KIMBERLY ADAMS,                    )
and WILLIAM NORTHCUTT,             )                 Case No.: 1:23−cv−03590
on behalf of Plaintiffs and the class
                                   )
members described herein,          )                 Honorable Matthew F. Kennelly
                                   )
                  Plaintiffs,      )
                                   )
           v.                      )
                                   )
MINTO DEVELOPMENT                  )
CORPORATION;                       )
BENHTI ECONOMIC                    )
DEVELOPMENT CORPORATION;           )
DOUGLAS WILLIAM ISAACSON;          )
MINTO FINANCIAL d/b/a Minto Money; )
and JOHN DOES 1-20,                )
                                   )
                  Defendants.      )
      PLAINTIFFS’ SUPPLEMENT TO THEIR MOTION TO TAKE DISCOVERY
       Pursuant to this Court’s order of September 14, 2023, Plaintiffs Justin Fahy, Jennene

Stoicescu, Kimberly Adams, and William Northcutt (“Plaintiffs”) supplement their Motion to

Take Discovery (Dkt. 30) by way of submitting the discovery requests attached hereto as Exhibit

A. Plaintiffs request leave to issue the attached discovery before responding to Defendants

Benhti Economic Development Corporation (“BEDCO”), Minto Financial d/b/a Minto Money

(“Minto Financial”), Minto Development Corporation (“MDC”), and Douglas William

Isaacson’s (“Isaacson”) (collectively, “Defendants”) Motion to Transfer Venue (Dkt. 23) and

Motion to Compel Arbitration (Dkt. 25). Explanatory information is provided in brackets.

       Plaintiffs request that the Court stay briefing on the Motion to Transfer Venue pending

the completion of any discovery the Court permits Plaintiffs to take.


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       Defendants claim that “Plaintiffs’ claims do not belong in federal court” (Dkt. 26, p. 3)

and that Minto Financial and BEDCO are not subject to suit anywhere, including the District of

Alaska. Defendants seek to enforce the arbitration provision in the loan agreements which

Plaintiffs contend is illegal. Thus, the threshold question is the Motion to Compel Arbitration, as

that is the venue in which Defendants claim these disputes must be resolved.



                                                     Respectfully submitted,


                                                     /s/Matthew J. Goldstein
                                                     Matthew J. Goldstein


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                              CERTIFICATE OF SERVICE

       I, Matthew J. Goldstein, certify that on Tuesday, September 19, 2023, I caused a true and

accurate copy of the foregoing document to be filed via the court’s CM/ECF online system,

which sent notice via email to all counsel of record.



                                                        /s/Matthew J. Goldstein
                                                        Matthew J. Goldstein


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